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                     12 THOMAS A. SEAMAN
                     13                           UNITED STATES DISTRICT COURT
                     14                         CENTRAL DISTRICT OF CALIFORNIA
                     15                                  SOUTHERN DIVISION
                     16 SECURITIES AND EXCHANGE                   Case No. 8:16-cv-02257-CJC-DFM
                        COMMISSION,
                     17           Plaintiff,                      NOTICE OF NON-OPPOSITION TO
                                                                  MOTION OF RECEIVER,
                     18      v.                                   THOMAS A. SEAMAN, FOR
                        EMILIO FRANCISCO; PDC CAPITAL             ORDER APPROVING: (1) SALE OF
                     19 GROUP, LLC; CAFFE PRIMO                   YACHT; (2) BROKER
                        INTERNATIONAL, INC.; SAL                  COMMISSION; AND
                     20 ASSISTED LIVING, LP; SAL                  (3) SEVERANCE PAYMENT TO
                        CARMICHAEL, LP; SAL CITRUS                CAPTAIN AND FIRST MATE
                     21 HEIGHTS, LP; SAL KERN
                        CANYON, LP; SAL PHOENIX, LP;              Date:    September 10, 2018
                     22 SAL WESTGATE, LP;                         Time:    1:30 p.m.
                        SUMMERPLACE AT SARASOTA, LP;              Ctrm:    9B, 9th Floor
                     23 SUMMERPLACE AT                            Judge:   Hon. Cormac J. Carney
                        CLEARWATER, LP; SUMMERPLACE
                     24 AT CORRELL PALMS, LP;
                        TRC TUCSON, LP; CLEAR
                     25 CURRENTS WEST, LP; CAFFE
                        PRIMO MANAGEMENT, LP; CAFFE
                     26 PRIMO MANAGEMENT 102, LP; et al.,
                     27                    Defendants.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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                      1               Thomas A. Seaman ("Receiver"), the Court-appointed receiver for the entity
                      2 Defendants and their subsidiaries and affiliates, including Red Sunshine
                      3 Holdings, Ltd, hereby gives notice that there has been no opposition to his Motion
                      4 for Approval of: (1) Sale of Yacht; (2) Broker Commission; and (3) Severance
                      5 Payment to Captain and First Mate ("Motion") filed with the Court or received by the
                      6 Receiver. Accordingly, the Receiver requests the Court grant the relief requested in
                      7 the Motion and such other relief as may be appropriate under the circumstances.
                      8
                      9 Dated: August 27, 2018                          ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                     10
                     11                                                 By:        /s/ Edward Fates
                                                                              EDWARD G. FATES
                     12                                                       Attorneys for Receiver
                                                                              THOMAS A. SEAMAN
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                      1                                       PROOF OF SERVICE
                      2        I am employed in the County of San Diego, State of California. I am over the
                        age of 18 and not a party to the within action. My business address is One America
                      3
                        Plaza, 600 West Broadway, 27th Floor, San Diego, California 92101-0903.
                      4
                               On August 27, 2018, I served on interested parties in said action the within:
                      5
                                NOTICE OF NON-OPPOSITION TO MOTION OF RECEIVER,
                      6           THOMAS A. SEAMAN, FOR ORDER APPROVING: (1) SALE OF
                                  YACHT; (2) BROKER COMMISSION; AND (3) SEVERANCE
                      7           PAYMENT TO CAPTAIN AND FIRST MATE
                      8              BY U.S. MAIL: by placing a true copy thereof in sealed envelope(s),
                                      addressed as indicated below. I am readily familiar with this firm's practice of
                      9               collection and processing correspondence for mailing. Under that practice it
                                      would be deposited with the U.S. Postal Service in San Diego County on that
                     10               same day in the ordinary course of business.
                     11               Emilio Francisco                           Defendant
                                      15 Rue Saint Cloud
                     12               Newport Beach, California 92660
                     13            I declare under penalty of perjury under the laws of the State of California that
                            the foregoing is true and correct.
                     14
                                      Executed on August 27, 2018, at San Diego, California.
                     15
                     16                      Edward G. Fates                              /s/ Edward Fates
                                           (Type or print name)                               (Signature)
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       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

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